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EXHIBIT B
MELLON DEPOSITION

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14—

A. Not that I'm -- not that were called that.

Q. Do you know what the scientific method is?

A. Roughly speaking, yes.

Q. As you understand what that is -- well,
let's do this: Tell me what -- in your own words

what do you think that is, when you use that phrase?

A. I don't hardly ever use it, so --
QO. Okay. How would you describe it, then?
A. Scientific method?

Q. Yes, sir.

A I think the scientific method is a means of
establishing a hypothesis based on assumptions that
are then tested and proved true or false based on the
evidence collected in the testing.

Q. Did you use that method in analyzing the
images that are the subject of this suit?

A. Not strictly speaking, no.

Q. In getting ready for your deposition, can
you tell me what documents you reviewed?

A. Basically, the ones in that littie pile that
you've got.

Q. And so it's clear, we've got on the table
the Complaint, your discovery responses, and your
Initial Disclosures without the attachments. Those

are some of the things you're referring to?

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the 16 minutes of 2012 high definition video.

Q. Okay, I understand. So that was the 2012
video.

A. Yes.

Q. Okay. Okay. So you get the eight-minute
piece of 2010 footage. What did you do with it?

A. What do you mean, what did Ff do with it?

QO. Well, you --

A. I put it on my computer.

Q. And started watching it?

A, Yes.

Q. So what did you -- what did you see?

A Well, I think E saw quite a few things. At

some point I had the ability to slow it down and look
at it essentially frame by frame and do it in slow
motion. And John Balderston at that same -- same
time frame had augmented his study of what he thought
he saw, and in the area of the -- where I said the
camera stopped and there were personal effects, I

think I was able to identify quite a few interesting

things.
Q. And what things do you remember identifying?
A. Well, specifically a set of binoculars; a

Pelorus instrument, which is used to measure drift;

an octant; there looked to be like a key lying on

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like a knapsack affair; and there locked to be a
musical instrument, it looked like a violin, and
there looked to be an instrument that looked like a
banjo. And I did research and discovered that Amelia
Barhart nad been a banjo player.

Q. And when you talk about the violin and the
banjo, do you mean in a case or outside of a case?

A. Outside of a case.

Q. And I think -- did you see or believe that
you saw the cases, as well? Am fT remembering that
right?

A. At the time I think I may have said I saw
the cases, as well, I'm not so sure now, because I
have much better definition video now to look at.

Q. Anything else as far as personal effects
that _- that sticks in your mind?

A. I believe I saw a package of rolled paper,
it could have been toilet paper or paper towels. It
had a -- like a diameter with a center tube.

Q. Anything else come to your mind right now?

A. No, not -- not right now.

Qo. And I think that you also believed that that
footage showed a lot of the airplane parts; is that
accurate?

A. It shows some of tne airplane parts, yes.

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Q. And those people have particular expertise,
correct?

A. Yes.

QO. So you'd agree that people with expertise
are needed to evaluate what you believe you see?

MR. STUBSON: Objection, form,

A. In my case, yes, because I don't have the
expertise to satisfy myself that I can prove it
scientifically.

BY MR. MASTERSON:
QO. Have you been on other undersea expeditions,

Mr. Mellon?

A. Two days in a nuclear submarine, that's
about all I can claim.

Q. Have you ever been on any undersea
archaeological expeditions similar to these?

A, No.

Q. You'd agree that that takes a little bit of
experience and expertise to run, correct?

A. Yes. That's why I had confidence that
TIGHAR was able to find this airplane. They told me
they wanted to find the airplane.

Qo. Sure. Someone off the street couldn't do
this, correct?

A. The U.S. Navy could do it.

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Q. Okay. So --

A. Just you saying that, it doesn't account
with me.
Qo. Okay. Then why don't you tell me again,

what's the first piece of false information that
TIGHAR and Mr. Gillespie gave you?
A, That's what I thought.

It was false information not to declare that
they found the airplane, because they had all the
information to show that it was found, before I made
the contribution.

Q. And you believe that's false because you
believe that footage shows pieces of the plane.

A. Yes.

Q. What do you feel they should have done?

A. I don't know what their objectives are, so I
can't answer that. You'll have to ask them. They
did what they did. I don't -- I have no idea what

caused them to do it.

QO. Well, you know their objective is to
conclusively discover what happened to Mr. Noonan and
Ms. Earhart, you understand that, correct?

MR. STUBSON: Objection as to form, leading.

A. I've come to believe that the motivation is

to keep the search going.

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A. Announced that they found the Electra
aircraft.

Q. And what else?

A. They may have had some desire to recover
portions of it. If, in fact, there was evidence of
showing human remains as part of this debris field,
then in my opinion they should not have tried to
recover any of it.

Q. And I've seen your screen grabs where you
point out the remains of Mr. Noonan and Ms. Earhart,
correct?

A. What I thought were at the time, yes.

Q, Okay. Do you still believe those are there?
A. I believe parts of them are there, yes.
QO. Okay. So the screen grabs that I saw of

Mr. Noonan and Ms. EBarhart annotated significant
portions of both of their skeletons. Do you remember

those original ones?

A. Yes.

Oo. But that ~- your opinion of that has
changed?

A. That's because I've seen higher definition.

QO. And so what do you think is there now?

A. I think her head is still there in a

cellophane bag.

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1 Q. And what about Mr. Noonan?
2 A. I think his head is still there, too, with
3 earphones on,
4 Q. And is there a cellophane bag on his head?
3 A. Yes.
6 Oo. And is there stili that nitrogen bottle down
7 there?
8 A. EI believe soa.
9 Q. And a tube running into those cellophane
10 bags?
11 A. I believe so.
12 Q. And so you're -- you believe that they
13 committed suicide?
14 A, Yes,
15 9. And do you believe there are other portions
16 of their skulls still -- or their skeletons still
17 down there?
18 A. I don't know. I thought so at first; but
19 upen reviewing the higher definition, I can't make
20 anything out specifically.
21 Q. And as far as analyzing underwater video for
22 airplane wreckage, is it fair to say you're
23 self-taught, Mr. Mellon; is that correct?
24 A. Is that a question?
25 QO. Yes,

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A. I didn't understand the question.

Q. All right. As far as being able to identify
airplane wreckage underwater, you are self-taught,
correct?

A. Self-taught?

QO. Yes.
A. Yes.
Q. Do you feel that as far as being negligent,

both TIGHAR and Mr. Gillespie are equaliy negligent?

A. Yes.
Q. Who else do you feel was negligent?
A. The board of directors.

o. Wha else?

A I believe as far as responsibility, it would
stop there.

Q. And your fraud allegation, that goes to they
knew the plane was there, they knew that the 2010
video showed it, and they chose to lie, correct?

A. What do you mean, correct?

Q. is that a correct statement? Your theory is
that they lied about what's in the 2010 video,
correct?

A. That they failed to disclose that the
aircraft was shown in the 2010 video, yes.

QO. And when did you decide that was the case?

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QO. That answer continues, and the last
sentence, the beginning part, is: TIGHAR failed to
utilize methods common in the salvage industry.

Can you tell me what some common methods
used in the salvage industry might be?

A, Well, not being an expert in the salvage
industry, I probably cannot tell you.

9. Obviously, somebody who is in the industry

could, though, correct?

A. Pardon?

9. Someone who's in the industry probably
could?

A, Yes, sir.

Q. Interrogatory number 16 talks about your
contact with the government of Kiribati. I saw a

letter that you had sent to that government about the

human remains.

A. Yes.
Q. Did you ever get a response back from them?
A. No.
Q. Did you ever write them again or follow up

in any way?
A. No.
(Pause in proceedings.)

BY MR. MASTERSON:

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1 You deny that, and then you say: Before
2 making the donation TIGHAR provided a DVD of a
3 Discovery Channel show, et cetera, et cetera.
4 We know TIGHAR provided you with a DVD and
5 all those materials, but the question was whether you
6 asked to see any of those things. So can you clarify
7 for me, did you ask to see them or did Mr. Gillespie
8 simply send them to you?
9 A. I think I probably asked for -- to see the
10 information on the radio messages, how to get to
11 them, because I didn't know. I didn't have any idea
12 how to navigate any forum, let alone that forum,

13 that time.

14 Q. Okay. My question is, did you ask for

15 materials from TIGHAR or did Mr. Gillespie just send

16 them ta you?

17 A. I think he -- I think he just sent them to

18 me,

19 Q. Okay.

20 A. But I may have asked for other materials, I
21 don't remember.

22 QO. Question 14: Admit that you have no

23 conclusive, physical proof that actual Earhart

24 artifacts are underwater near Nikumaroro.

25 And your response was denied, you have film

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of underwater artifacts.
Is there anything else you have other than
the film?
A. The picture from Mr. Cook.
{Pause in proceedings.)
A. That would be it.
BY MR. MASTERSON:
Q. I'm sorry?
A, I think that would be it.
Q. And do you consider that photographic
evidence to be conclusive?
A. I don't know. It hasn't -- it hasn't been
evaluated carefully by anyone I know, except
Mr. Glickman did evaluate it.
MR. STUBSON: And just to clarify, are you
just talking about the Cook photo in that question?
MR. MASTERSON: No.
MR. STUBSON: You're talking about the
underwater footage or the photo?
BY MR, MASTERSON:
Q. Great point. Let me split it up.
The underwater footage, would you consider
that footage to be conclusive evidence?
A. Yes.

Q. The Cook photograph, would you consider that

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1 to be conclusive evidence?

2 A. Not yet.

3 QO. And so the 2010 video footage leaves no

4 doubt in your mind?

5 A. None.

6 QO. Which would mean, then, that you don't feel
7 any need to go back again and try to recover

8 anything? It's a dead horse, as far as you're

9 concerned?

10 MR. STUBSON: Object as to form.

11 A. Yeah, you'll have to restate that.

12 BY MR. MASTERSON:
13 QO. Well, I think you probably already answered
14 it.
15 Take a look at request 27. It on page 9.
16 (Pause in proceedings.)
17 A, (Nodding head.)
18 BY MR. MASTERSON:

19 Q. That question is: Admit that you have no
20 documents, writings, or communication that TIGHAR hid
21 any findings from any expedition it, meaning TIGHAR,
22 has conducted.
23 . And you have denied -- qualified denial.
24 Defendants hid photos from Dr. Cook of underwater

25 features that they had acquired.

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1 you still believe that those are reflected in the
2 2010 video footage, all right?
3 A. Which one?
4 Q. Well, I'm going to go through them.
5 A. Which 2010 video? There were three videos
6 we're talking about.
7 Q. Any of tne -- the eight-minute-and-thirty-
8 three-second video that you base your Complaint on?
9 A. Well, it's also based on the high
10 definition, the XHDEF that's --
11 Qo. Okay. Well, let’s do this. I'll ask you if

12 you still see any of those things in any of the 2010
13 footage, okay?
14 A. Okay.
15 Q. But let me start with this: These two lists

16 that you posted, as of when you posted them these

17 reflect things you believe you saw on those videos.
18 A. On the -- what Mr. Gillespie calls the half
19 resolution, which is really a quarter resolution,

20 because you have haif of two axes.

21 Q. Okay.

22 A. So there's a quarter of the number of pixels
23 on what he has posted compared to what I've been able
24 to look at later, which is much more accurate.

25 Q. Fine. But as of the date of these posts,

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1 this is things you thought you saw,
2 A. Yes,
3 Qo. Okay. So starting with -- underneatn

4 Eyebrow Panel on Exhibit 10, do you still see a

5 direction finding control apparatus?

6 A. Yes.

7 Q. Do your experts?

8 A. Pardon?

9 Qa. Do your experts?

10 A. I don't think they were asked to look at
11 specific instruments.

12 Q. How about the left and right thermocouple
13 switches?

14 A. I don't know. I'd have to look at the

15 pictures again. And I'd have to look at them in the

16 high definition. But when [I -- at this point I did
17 see them. TI saw them then, because I put it down.
18 Qo. Do you recall if you still see them?

19 A. I haven't looked for them.

20 Q. Left and right manifold pressure gauges.
21 A. Yes,

22 Q. Do you still see those?

23 A. Yes.

24 Q Did your experts?

25 A They weren't asked to look for those.

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132-—-
1 Q. The left tachometer?
2 A. Tachometer, no.
3 Q. And you mean no, you don't see it or --
4 A I have not seen it --
5 Q. Okay.
6 A. -- recently.
7 Qo. Have you looked for it recently?
8 A, No.
9 Q. Bank and turn indicator?
10 A I don't think so.
11 Q. You don't think you've looked for it lately?
12 A I know I haven't looked for it, no, looked
13 for any of these things since these were posted.
14 Q. Okay. Well, that's -- that's -- why don't
i5 you then look -- in that case, why don't you look

16 through this and tell me if you've looked for any of

17 those things --

18 A. Okay. The autopilot, definitely.

LQ Q. Okay. And did you see it?

20 A Yes.

21 Q. Did your experts?

22 A They -- you know, they weren't asked to

23 study any of these things.
24 Q. I understand.

25 A. So the answer -- don't keep asking the

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1 question, because I have not asked for that, so
2 Q. Well, I --
3 A. For all of it, they weren't asked for that.

5 Q. Okay.

6 A, ET will tell you if and when they looked at
7 one of these things that are on this list.

8 Qo. Okay.

9 A, Number 25, a selector switch for wing tank
10 gauge.

11 Q. Is it still there?

12 A. Yes.

13 The ignition switches, the throttle,

14 mixture level -- levers.

15 Q. I'm sorry, what was the last one?

16 A. There's three sets of levers, not two.

17 There's throttle -- there's -- on the left there are

18 two that control the pitch of the propeller; in the

19 middle there are two that are throttles; and on the

20 right there are two mixture controls which controls

21 the flow of fuel to the engines, the quantity of

22 fuel. So there are six levers that are ina -

23 grouped together so you use one hand to operate all
24 of them without having to move.

25 Q. Uh-huh.

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A, So those are evident.

a. Okay.

A. Let's see, the pilot's seat cushion,
definitely.

And the cover to the fueling port.
Q. Okay. And that's -- now you're going to

Exhibit 11 next?

A. Yes.

QO. Okay.

A. I definitely don't see the 0 zero and 2
anymore.

134—-

The headset and wire seen as a squiggle, and

they did study that and I think that may be in the

report.
Qo. Do you still see those things?
A. Yes.

The HF antenna cable and isolators.

Engine and propeller, but not where John
Balderston says they are.

Tailwheel and tailcone.

Number 10, top of fuel tank with filler
pipe. You can actually see three of those.

Number 11, landing gear assembly, but the
fender is not upside down,

Number 12, numerous pieces of sheet metal.

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bottles.

here, I

it was very close by that. ‘That would be the second

main landing gear.

number 8,

report.

expert's

Q.

expert see those things, and you indicated that you

Number 14, HF transmitter tubes,

Number 15, fuselage fuel tank selector.
Number 17, pelorus.

Number 18, octant.

Number 19, Fred Noonan's head, at least.
Number 20, the pilot's head, at least.
Number 22, fuselage fuel tank.

Number 24, a key.

Number 27, five sacks of spare parts and

Number 29, but not where -~ where it was

-- that was not the second landing gear, but

Number 32, Kodak Duo Six-20 camera.
Number 33, Bausch & Lomb field glasses,
And the others are all iffy.

Oh, and just let me review for you the --

tailwheel and tailcone, is in the expert's

Number 11, landing gear assembly is in the
report.
Well, the expert's report speaks for itself.

We've talked a couple times about did the

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those, or anybody, to determine anything else about
those?
A. No, but Professor Forrester opined that they

were not anything but natural formations, due to the

Q. And did --

A, He didn't identify what he thought they
were, he just said he didn't think they were stamps.
Qo. Do you stiil think they're stamps and

letters?

A, Ido. Because of their orientation to each
other, yes.

Q. In that email you note that: I hope you
will pass this along to Jeff Glickman,

If Jeff Glickman is not qualified, why did
you want it passed along to him?

A. Well, because Ric had stated in his
shut-down message that nothing was going to be
allowed further view until Jeff Glickman could agree
that he saw something. -

(Pause in proceedings.)

BY MR. MASTERSON:

Q. Do you agree with your experts! reports?
A. Yes.
Oo. To your knowledge, have those reports been

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A Yes

QO. -- it's March 6. Third paragraph down you
State: As you have undoubtedly noticed, Ric
Gillespie has announced his intentions to conduct
another expedition in the summer of 2014. I don't
think our timing could be much better -- excuse me, I
don't think our timing here could be much better.

What are you referring to?

A. The hope that identifying the airplane would
preclude the need for another expedition.

Q. Why would you want to preclude another
expedition?

A. Because they're expensive and unnecessary if
we've already found the airplane,

QO. That's TIGHAR's call, though, correct?

A, You asked me what I thought, not what TIGHAR
thought.

Q. So you made that statement about the timing
hoping it would avoid another expedition?

A. Hoping that it would result in the
identification of the aircraft.

Q. And you're not referring to litigation in
that?

A. No, just moving the process along.

Qo. So what was the goal with the expert report?

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159—
A. I hope to cure Mr. Gillespie's blindness,
professed blindness.
QO. And what else?
A. I hope everyone will come to the conclusion

that the Earhart Electra is at that place, it's been
there for 76 years, and move on to the next effort.
Q. And obviously, you feel a lawsuit is the way
to do that?
A. It seemed to be the only remaining avenue.
Q. You felt you had exhausted all of your other

avenues?

A. Yes.
Q. Yes?
A. Yes.

MR. MASTERSON: Tim Stubson, a request to
you would be to try to find out the name of the
gentleman in South Carolina.

MR. MELLON: I don't have a record of that.
BY MR. MASTERSON:

Q. Is he with a university, anything like that?

A. I think he was -- he was a self-employed
professional, you know? I don't think he was
associated with a company.

QO. Like a salvage company, or something like

that?

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